          Case 1:22-cv-02256-RC Document 17-2 Filed 11/23/22 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


ANDREW HANSON, et al.,

     Plaintiffs,

     v.                                         Civil Action No. 1:22-cv-02256-RC

DISTRICT OF COLUMBIA, et al.,

     Defendants.


           DEFENDANTS’ LIST OF EXHIBITS IN SUPPORT OF OPPOSITION
          TO PLAINTIFFS’ APPLICATION FOR PRELIMINARY INJUNCTION

   A. Plaintiffs’ Answers and Objections to Defendants’ First Set of Interrogatories

   B. Declaration of Dennis Baron

   C. Excerpt of Tom Givens, Concealed Carry Class: the ABCs of Self-Defense Tools and

      Tactics (2019)

   D. Declaration of Stephen Amodeo

   E. Declaration of Leslie Parsons

   F. Declaration of Roger Pauly

   G. Declaration of Brian DeLay

   H. Declaration of Robert Spitzer

   I. Declaration of Randolph Roth

   J. Declaration of Brennan Rivas

   K. Excerpt of Paul M. Barrett, Glock: The Rise of America’s Gun (2012)

   L. Excerpt of Jeff Kinard, Pistols: An Illustrated History of Their Impact (2003)

   M. Declaration of Kevin M. Sweeney
     Case 1:22-cv-02256-RC Document 17-2 Filed 11/23/22 Page 2 of 2




N. Excerpts of Robert Sadowski, 9MM: Guide to America’s Most Popular Caliber (2018)

O. Declaration of Daniel W. Webster

P. Report of Firearms Committee, Handbook of the National Conference on Uniform State

   Laws and Proceedings of the Thirty-Eighth Annual Meeting (1928)

Q. Excerpt of Patrick J. Charles, Armed in America: A History of Gun Rights from Colonial

   Militias to Concealed Carry (2018)

R. Excerpt of Graeme Rimer, et al., Smithsonian Firearms: An Illustrated History (2014)




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